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 5    Attorney for Jerome Michael Bell

 6
 7                                 UNITED STATES DISTRICT COURT
 8                                         DISTRICT OF NEVADA
 9
10      UNITED STATES OF AMERICA,                          Case No. 2:15-cr-00011-JCM-CWH
11                         Plaintiff,
                                                           Stipulation and Proposed Order to Extend
12            vs.                                          Deadline to Supplement Compassionate
                                                           Release (Second Request)
13      JEROME MICHAEL BELL,
14                         Defendant.
15
16
              IT IS HEREBY STIPULATED AND AGREED, by Jacqueline Tirinnanzi, counsel for
17
      Jerome Michael Bell, and Jim Fang, counsel for the United States of America, that the August
18
      18, 2024 deadline (ECF No. 255) on which defendant must file his supplement in support of
19
      compassionate release extended 21 days from the day of this filing, to on or before September 8,
20
      2024.
21
              This stipulation is entered into based upon the following reasons:
22
              1. Counsel for Defendant was appointed to Mr. Bell to supplement his motion for
23
24                  compassionate release on December 28, 2023. (ECF No. 250).

25            2. According to Amended General Order 2020-06 In Re: Compassionate Release

26                  Requests Under the First Step Act, the FPD must file a supplement to the

27                  defendant’s pro se motion within thirty days.

28            3. At the time of Ms. Tirinnanzi’s appointment to supplement Mr. Bell’s motion, he


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 1             was in custody on a writ at the Clark County Detention Center (“CCDC”). On
 2             February 2, 2024, when defense counsel was approved for communication and
 3             visitation with Mr. Bell at CCDC, she was made aware that Mr. Bell was no longer
 4             at the facility.
 5
            4. Due to Mr. Bell’s transport from CCDC back to Beaumont USP, communication
 6
               with Mr. Bell and defense counsel was delayed util February 23, 2024.
 7
            5. Initially Mr. Bell was unresponsive to follow up written attorney-client
 8
               communication. An additional attempt was made, and according to USPS tracking
 9
               services, on April 12, 2024, Beaumont USP rejected attorney mail sent to Mr. Bell.
10
               It is necessary for Mr. Bell to receive the mail for purposes of moving forward with
11
               his supplement to motion for compassionate release.
12
            6. Defense counsel received a second call with Mr. Bell on May 13, 2024
13
               (communication is challenging due to frequent lockdowns). Counsel was made
14
15             aware that Mr. Bell did not receive his attorney mail and therefore Mr. Bell has not

16             filled out documentation necessary for defense counsel to move forward with

17             supplementation of his motion for compassionate release.

18          7. Counsel for Mr. Bell has made attempts to schedule follow-up phone calls with Mr.

19             Bell. His Counselor, Bijou is out of office until August 17, 2024. Counsel is reliant
20             on Counselor Bijou to facilitate tele phonic communications with Mr. Bell.
21          8. Further communication with the client who is detained, is also required to complete
22             Mr. Bell’s supplement to motion for compassionate release. Obtaining
23             communication with penitentiary inmates is difficult due to institutional security and
24             frequent lockdowns at Beaumont USP.
25
            9. The parties agree to the extension of time for 21 days.
26
            10. This is the second request for extension of time.
27
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 1
            Dated this 17th day of August 2024.
 2
 3
 4                                                    Respectfully Submitted,
 5
 6          /s/ Jim Fang_______                       /s/ Jacqueline Tirinnanzi_______
            JIM FANG, ESQ.                            JACQUELINE TIRINNANZI, ESQ.
 7          Assistant United States Attorney          Counsel for Jerome Michael Bell
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 1                                UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
 4      UNITED STATES OF AMERICA,                       Case No. 2:15-cr-00011-JCM-CWH
 5                        Plaintiff,
 6            vs.                                       Proposed Order
 7      JEROME MICHAEL BELL,
 8                        Defendant.
 9
10
              Based upon the stipulation of counsel, and good cause appearing, IT IS HEREBY
11
      ORDERED that defendant’s supplementation in support of compassionate release shall be due
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      on or before September 8, 2024, the Government’s response will be due 14 days from the date
13
      the supplement is filed, and Defendant’s counsel will have seven days following submission of
14
      the response to file a reply.
15
16
               August 19, 2024
17    DATED: __________________________

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19
                                                  ______________________________________
20                                                THE HONORABLE JAMES C. MAHAN
                                                  UNITED STATES DISTRICT JUDGE
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